Filed 11/24/14                                   Case 09-90452                                               Doc 278


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :        DeLiddo and Associates, Inc.                      Case No : 09−90452 − E − 7
                                                                             Date : 11/20/2014
                                                                             Time : 10:30

    Matter :            [267] − Motion/Application for Compensation [CWC−11] for Carl W. Collins, Trustee's
                        Attorney(s). Filed by Carl W. Collins (ltas)


    Judge :             Ronald H. Sargis                       Courtroom Deputy : Cecilia Jimenez
    Department :        E                                              Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


                                              CIVIL MINUTE ORDER


    Findings of Fact and Conclusions of Law are stated in the Civil Minutes for the hearing.

    The Motion for Allowance of Fees and Expenses filed by Carl W. Collins ("Applicant"), Attorney for the
    Trustee having been presented to the court, and upon review of the pleadings, evidence, arguments of
    counsel, and good cause appearing,

    IT IS ORDERED that Carl W. Collins is allowed the following fees and expenses as a professional of the
    Estate:

    Carl W. Collins, Professional Employed by Trustee

    Fees in the amount of $ 64,366.00
    Expenses in the amount of $ 914.84,

    IT IS FURTHER ORDERED that the Trustee is authorized to pay the fees allowed by this Order from the
    available funds of the Estate in a manner consistent with the order of distribution in a Chapter 7 case.


               November 24, 2014
